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                        Addendum to Appellant’s Opening Brief

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                        o   15 U.S.C. § 1114 (Lanham Act)

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                        o   Federal Rule of Civil Procedure 8(c) and 12(c)

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                          o   Lexmark Int’l, Inc. v. Static Control Components, Inc.,

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